Sf teswed Sonos Act-no Pri”

10

11

12

13

14

15

1é

17

18

19

20

21

22

23

24

25

26

27

28

 

 

Case 2:02-cv-02110-BJR Document1 Filed 10/10/02 Page 1of 7

wormenven, «LL

iw |_MAIL

OCT +0 2002

 

 

 

 

AT SEATTLE
CLERK US. DISTRICT COURT
_ _ BESTERN DISTRICT OF WASHINGTON

URUGUAY A _
{TOE TIVE AMT 0 wnt

CV 02-2110 #1

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON
AT SEATTLE

C02-21108

SEAMAN'S COMPLAINT IN
REM FOR DAMAGES FOR
PERSONAL INJURIES,
MAINTENANCE AND CURE
AND WAGES

JOSHUA J. MILLER,
Plaintiff,
VS.

F/V MISTY MOON, Official
No. 578511, including all her
appurtenances,

Defendant.

ee ee ee ee

 

Plaintiff alleges:

FIRST CLAIM

1. Plaintiff Joshua J. Miller is a seaman and brings this
action pursuant to the provisions of 28 U.S.C. §1916 without
prepayment of fees and costs and without deposit of security
therefor.

2. This is a case of admiralty and maritime jurisdiction,
as hereinafter more fully appears. This is an admiralty and
maritime claim within the meaning of Rule 9(h). This Court has
Seaman’s Complaint in rem ANDERSON, CONNELL & MURPHY
for Damages... 1 ATTORNEYS AT LAW

1501 ELDRIDGE AVENUE - P.O. BOX 1063

BELLINGHAM, WASHINGTON 98227-1043
(360) 671-6711 + FAX (360) 647-2943

 
10

11

12

13

i4

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

Case 2:02-cv-02110-BJR Document1 Filed 10/10/02 Page 2 of 7

jurisdiction pursuant to 28 U.S.C. §1333; and supplementai
jurisdiction.

3. The defendant vessel is now, or during the pendency of
this case will be within this district and within the
jurisdiction of this Court.

4. Plaintiff alieges upon information and belief that at
all times mentioned herein defendant Misty Moon, Inc. was and now
is a corporation organized and existing according to law, and
doing business within this district.

5. At all times mentioned herein, the F/V MISTY MOON,
Official No. 578511, was an American flag vessel operating upen
the navigable waters of the United States and the high seas.

6. Plaintiff alleges upon information and belief that at
all times mentioned herein the said MISTY MOON was owned by
defendant.

7. Plaintiff alleges upon information and belief that at
all times mentioned herein the said vessel was manned, operated,
maintained and controlled by defendant.

8. At all times mentioned herein, plaintiff was in the
employ of defendant as a seaman and member of the crew in the
service of the MISTY MOON.

9, On or about October 12, 1999 while plaintiff was
engaged in the course of his duties in the service of said
vessel, the MISTY MOON was unseaworthy in that, among other

things, said vessel and her appurtenances were in a dangerous,

Seaman’s Compla int in rem ANDERSON, CONNELL & MURPHY
for Damages . . . 2 ATTORNEYS AT LAW
1501 ELDRIDGE AVENUE » P.O. BOX 1063
RELLINGHAM, WASHINGTON 98227-1063
(360) 671-6711 - FAX (360) 647-2943

 
11

12

13

14

16

17

18

19

2)

21

22

23

24

25

26

27

28

 

 

Case 2:02-cv-02110-BJR Document1 Filed 10/10/02 Page 3 of 7

defective and hazardous condition; the place where plaintiff was
required to work was unsafe; sufficient gear and equipment in
proper working order were lacking; and the said vessel was
otherwise so unseaworthy as to cause a wheelhouse chair to
collapse, launching plaintiff down an adjacent stairway.

10. As a result of said incident, plaintiff was hurt and
injured in his health, strength, and activity, sustaining injury
to his body and shock and injury to his nervous system and
person, all of which said injuries have caused and continue to
cause plaintiff great mental, physical and nervous pain and
suffering, and plaintiff alleges upon information and belief that
said injuries will result in some permanent disability to
plaintiff, all to his general damage according to proof.

11. As a further result of said incident, plaintiff was
required to and did employ physicians and other health care
providers for medical examination, care and treatment
of said injuries, and plaintiff alleges upon information and
belief that he may require such services in the future. The
cost and reasonable value of the health care services received
and to be received by plaintiff is presently unknown to him, and
plaintiff prays leave to insert the elements of damages in this
respect when the same are finally determined.

12. As a further result of said incident, plaintiff has
suffered and will continue in the future to suffer loss of income

in a presently unascertained sum, and plaintiff prays leave to

Seaman’s Complaint in rem ANDERSON, CONNELL & MURPHY
for Damages ...,. 3 ATTORNEYS AT LAW
1501 ELDRIDGE AVENUE - P.O. BOX 1f43
BELLINGHAM, WASHINGTON 98227-1063
(360) 671-6714 » FAX (360) 647-2943

 
10

ii

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

Case 2:02-cv-02110-BJR Document1 Filed 10/10/02 Page 4 of 7

insert the elements of damage in this respect when the same are
finally determined.
SECOND CLAIM

13. Plaintiff realleges and incorporates herein by
reference paragraphs 1 through 12 of his First Claim hereinabove
set forth.

14. On or about October 12, 1999, plaintiff became injured
and disabled while in the service of the vessel.

15. Upon plaintiff's becoming injured and disabled as
aforesaid, it became the duty of defendant to pay to plaintiff
the expenses of his maintenance and cure, as weli as his wages to
the end of the period of employment for which plaintiff was
engaged, but defendant failed and neglected to make payment
thereof, despite knowledge of plaintiff's continuing disability.

16. By reason of the premises, plaintiff has been damaged
in sums according to proof for maintenance and cure and unearned
wages, the precise amounts of which are presently unascertained,
and plaintiff prays leave to insert
the elements of damages in this respect when the same are finally
determined.

17. By reason of said neglect, plaintiff was obliged to
engage the services of counsel and has incurred and will continue
to incur attorneys’ fees and expenses for which plaintiff is
entitled to recover.

WHEREFORE, plaintiff prays judgment against defendant as

follows:
Seaman's Complaint in rem ANDERSON, CONNELL & MURPHY
for Damages... 4 ATTORNEYS AT LAW

1501 ELDRIDGE AVENUE + P.O. BOX 1015
BELLINGHAM, WASHINGTON 98227-1015
(360) 671-6711 + FAX (360) 647-2943

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

Case 2:02-cv-02110-BJR Document1 Filed 10/10/02 Page 5 of 7 .

proof;

proof;
4 .

proof:

law;
7.

8.

maritime lien against the F/V MISTY MOON, for the payment of the

sums due,
all other
9.
and sold,
claim;
10.
permitted

judgment,

the full amounts thereof; and

fff
fff

Seaman’s Complaint in rem ANDERSON, CONNELL & MURPHY
for Damages .

For his general damages according to proof;

For all expenses for health care providers according to

For all loss of income past and future according to

For maintenance, cure and unearned wages according to

For reasonable attorneys’ fees and expenses;

For prejudgment interest according to general maritime

For plaintiff's costs of suit incurred herein;

That plaintiff be adjudged the holder of a preferred

and that the Court declare said lien to be superior to
liens which may exist against the vessel;
That the F/V MISTY MOON be arrested, condemned,

with proceeds applied in payment of plaintiff's

That at the sale of the vessel, plaintiff be
to bid, without cash deposit, parts of his

accrued interest, costs and attorneys' fees, up to

. 5 ATTORNEYS AT LAW
1501 ELDRIDGE AVENUE + P.O. BOX 1015
BELLINGHAM, WASHINGTON 98227-1015
(360) 671-6711 + FAX (360) 647-2943

 

 
10

ll

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

 

Case 2:02-cv-02110-BJR Document1 Filed 10/10/02 Page 6 of 7

Ll. For such other and further relief as the Court

deems just.

DATED this Ge day of October, 2002.

ANDERSON, CONNELL & MURPHY

DAVID B. ANDERSON WSBA #5528
Attorneys for Plaintiff

ANDERSON, CONNELL & MURPHY
SEAMAN'S COMPLAINT IN REM FOR DAMAGES ATTORNEYS AT LAW
FOR PERSONAL INJURIES ... 6 1501 ELDRIDGE AVENUE « P.O, BOX 1015
BELLINGHAM, WASHINGTON 98227-1015
(360) 671-6711 + FAX (360) 647-2943

 
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

 

 

 

Case 2:02-cv-02110-BJR Document1 Filed 10/10/02 Page 7 of 7

VERTFICATION
I, Joshua J. Miller, declare under penalty of perjury
under the laws of the United States of America, as follows:
1. I am the plaintiff in the above-entitled action.
2. I have read the foregoing complaint, and the same
is true to the best of my knowledge, information and belief.

th
Executed at VereesBu eh , Alaska, this E day of

PAL yeh

Joshpa J. (filler

October, 2002.

ANDERSON, CONNELL & MURPHY
SEAMAN'S COMPLAINT IN REM FOR DAMAGES ATTORNEYS AT LAW

FOR PERSONAL INJURIES . . . 7 1501 ELDRIDGE AVENUE + P.O. BOX 1063

BELLINGHAM, WASIIINGTON 98227-1063
(360) 671-6711 - FAX (360) 647-2943

 
